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                  IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

MAXINE WHITE,                          §
                                       §
      Plaintiff,                       §
                                       §
v.                                     §            CASE NO.   16-cv-1266
                                       §
FRONTIER AIRLINES, INC.                §
                                       §
      Defendant.                       §
________________________________________


                      STATE COURT PLEADINGS INDEX


      Exhibit A     Original Petition               11/02/16

      Exhibit B     Civil Case Information Sheet    11/02/16

      Exhibit C     Service Request Form            11/02/16

      Exhibit D     Executed Service                11/04/16

      Exhibit E     District Clerk’s Case Index     12/02/16
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                                                                         ­ Details

                                                      (https://www.traviscountytx.gov)

    District Clerk - AARO - Attorney Access to Records Online

    Details
    Updated : Friday, December 2, 2016 5:08:56 AM

    Cause Number                                                                             Request Documents (/aaro/Content/record_search_ llable.pdf)
    D-1-GN-16-005470
    Style                                                                                       New Search (/aaro/)
    WHITE V FRONTIER AIRLINES
    Filed Date
    11/2/2016
    Court
    53
    Type
    PERSONAL INJURY OTHER (GEN LIT )
    Case Status
    PENDING
    Action/Offense
    Hearing Date


    Attorney                   Type          Party - Full/Business     Party - Person
                               DEFENDANT     FRONTIER AIRLINES INC
    LEVINE JOEL ALAN           PLAINTIFF                               WHITE , MAXINE


    Date              Court Party Description                         Category      Pages
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